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UNITED STATES D1sTR1CT CoURT MAR; 112 4 2017

EASTERN DISTRICT oF ARKANSAS JAMES CLERK
BV:MM;W_
' RK

 

 

 

 

APPLICATION TO PROCEED
Plaintiff WITHOUT PREPAYMENT OF
FEES AND AFFIDAVIT
v.
CASE NUMBE y \5' \/\C\/D'M 5\/\\ gv
Defendant
I, C l\Ml€§ §- HW\/\N €/Q # ,L'lBOé 3 declare that l am the (check appropriate box)
[_§Getitioner/plaintiff/movant V other

in the above-entitled proceeding; that in support of my request to proceed without prepayment of fees or costs
under 28 USC §1915 l declare that I am unable to pay the costs of these proceedings and that l am entitled to the
relief sought 1n the complaint/petition/motion

ln support of this appllcatlon l answer the following questions under penalty of perjury:

l. Are you currently incarcerated? lH/Yes ENO (If “No,” go to Part 2)
lf“Yes,” state the place of your incarceration \/GRN€R SW'DQR/V\A)(//ARK. 6!@{)%, O’{: CDRR .
Are you employed at the institution? N Q Do you receive any payment from the institution? [\_/O

Attach a ledger sheet from the institution(s) of your incarceration showing at least the past six months’
transactions

2. Are you currently employed? llj Yes lM\Io

a. lf the answer is “Yes,” state the amount of your take-home salary or wages and pay period and give the
name and address of your employer,

b. lf the answer is “No,” state the date of your last employment, the amount of your take-home salary or
wages and pay period and the name and address of your last employer.

3. In the past 12 twelve months have you received any money from any of the following sources?

a. Business, profession or other self-employment ll:“l Yes lj/No
b. Rent payments, interest or dividends §§ Yes mo
c. Pensions, annuities or life insurance payments ll:l Yes l_ No
d. Disability or worker’s compensation payments il:l Yes mo
e. Gifts or inheritances i[§l/Yes ll:l No
f. Any other sources l§ Yes lm o

lf the answer to any of the above is “Yes,” describe, on the following page, each source of money and
state the amount received and what you expect you will continue to receive.

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50 I l\A`\/€ ¢\ lifle food IW /V\)`/` <;e,ll “lb €A"f,’ gv\/d ~F(g,Q l\},j(,\e/V€
cv\/c?) w/QHW`NJ ma‘l€kl`&/S.

4.

Do you have any cash or checking or savings accounts? IE Yes mo
lf “Yes,” state the total amount. ><

Do you own any real estate, stocks, bonds, securities, other financial instruments, automobiles or any

other m
thing of value? iii Yes iM/No

lf “Yes,” describe the property and state its value.

>(

List the persons who are dependent on you for support, state your relationship to each person and indicate
how much you contribute to their support.

311er ~\yself +l\o¢v)< Gocl(

l declare under penalty of perj ury that the above information is true and correct.

mach ll,aoW Cf\a,ru&,a Z\`ila~\i\m qtlL’/L/B’Oé"j’

Dat{z Signature of Applicant

NOTICE TO PRISONER: A Prisoner seeking to proceed IFP shall submit an affidavit stating all assets. ln
addition, a prisoner must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts lf you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.

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AR 1)0C CALCULArloN oF INITIAL PAYMENT oF PAG 1;; 1 of 1
REPORT No. 138R146 - 35 FlL'NG FEE PROCESSED: 03/17/2017 10:26 AM
FRoM: <)/18/2016 To: 03/17/2017 REQUEsToR; ramela A Giiiey

(To be Completed by the Institution of Incarceration)

PLAINTIFF: Charles Hamner

ADC NUMBER: 143063

FEDERAL COUR'I` CASE NUMBER (IF KNOWN):

 

TOTAL DEPOSITS FOR LAST (6) MONTHS: 335 l .00
AVERAGE MONTHLY DEPOSI'I`: (TOTAL DEPOSI'I`S DIVIDED BY 6) $58.50
'I`OTAL BALANCES FOR LAST SIX (6) MONTHS: $17().57
AVERAGE MONTHLY BALANCE (TOTAL BALANCES DIVIDED BY 6): $28.43
CURRENT ACCOUNT BALANCE: $3.09

INITIAL PAYlVlENT OF FILING FEE AS OF: 03/17/2017 $l 1.70

(THE GREATER OF THE AVERAGE MONTHLY DEPOSIT OR THE AVERAGE
MONTHLY BALANCE x .20)

DATE: 3 \:l_ , 7 AUTHORIZED OFFICIAL:

(NO FILING FEE SHALL BE IN EXCESS OF $400
FOR A CIVIL LAWSUIT OR $505 FOR AN APPEAL)

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CERTIFICATE ~
(Prisoner Accounts Only)
(To be Completed by the Institution of lncarceration)

l certify that the applicant named herein has the sum of $ 22 , § 2 51 on account to his/her

credit at the \\`\_\_~NQ f` institution where he is confined.

 

l further certify that the applicant likewise has the following securities to his/her credit according

to the records of said institutionw§_flg_d!:)_\§th_, ,L_
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l further certify that during the past six months the applicant’s average balance was

§§ g.~l'?> .

   
 
 

Date Signature of Authorized Officer o Institution

